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              Exhibit 
Page l                 of   1 ft) Pages                                         1:23-cv-01184-CRL-JEH # 318-6                                                  Filed: 04/22/24                                    Page 2 of 12                                                                               77-01588
  OFFEN-SE CLASS1FICATION                                                           INC, CODE           DATE OF THIS AEPOflT                                           notit
                                                                                                                                                                    ClASSI FICA               INCIDENT CODE CHANGE

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                                                                                    0112                                                                             CHANGE NEEDED
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                                                            NAME AND/OR ALIAS                                                                                                                                                                                                                                                                      RH.


                                                               COOPER           Connie
                                                                                                                                                                .   ~,          . I

                                                               ROBINSON ,James,.                                                        , W~. Gar.den -

                                                                                                                                       19-W. Kettelle,./
                                                                                                                                                                                                      I   '            L ..        ~     .   ..J'.




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LAB                             ~CIO                                                                           •PATROL SGT.                                                                                              10TH(:R
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      CONTINUATION                                NARRATI.VE:                                                                                                                                                           ... ·,.                                                                      • , I
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       SHEET ONLY                                                   l 00 hours                  Januar                                     Tuesda


                          . Bus. ry developed:
      i nformat ran ·p~r·evi  .      .. '~     .throu·gh
                                                 .       an . interview ,wfth, JACK·SON, DAVID, · B/M · student !at: 1ater-af.ter.noon -high :school.•. ···

      discovery of the incident.                                     Officer Sti,nson.•sta te·d ~that' ·he ·would make a·r rangements to ihave' a ·s_earch, c·on~duded :of.., ·possible

      concer::n.fng·.:-the f.e'a·s,ibi:l'fty• ~of' broa"d·cast i ng · th~i s' request, over :the -school•:; nfer-com~ .. Subsequentfy -Mr .;.:s·marJjus·t ie ·cnritacte'd
                                                        •       •                                   •                                                                                     •   •               ~   •                                                                                          I            ~




      ~he:-intercom· at ~a, late'r-:hour, ,as- s·oon as possibl:e·.: At; 1340 hours :we.-then left -Central- Hfgh School.--
                                     • './. ,   :J...                           ,                                     ,,                  'I ·.·                    f           ,,                                                , 1,                      :'! :



      Mr. Sam:•.Richardson;·· Mr. :Richardson.who ·was. informed: that the··nature of: our vi:sit:was· to establish the .. identi.ty:of .the
                 idua] ,,·named ,JOHNNY 11 and be was possibly a studert:at, late .afternoon classes.· Mr. Rkbacdson
      supply the names of three (3) students whose identities were particial ly given to Of.f:icer Haynes, dur.ing :an-i.nterview

                                                        HART, Toby

                                                    ·,JACKSON, Bobby~,
                                                                                                                                                                                                                                                                                                .,
                                                                                                                                                                                                                                                       SUPERVISO~ APPROVING                                                                  I.D. ~O,




EXTRA CO fl ES TO                                                                                                                                                                                 APT, RVW.                                          AEF.                                                     EXTENSION       FILE PAGE NO

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                                               l'\lil-\nn,H. I IV c;                                                                                                                 rlCLU   l\.,VIYIIYIUl'ill\.,1-\. I IUI.._.V      1    nn.:>.
 Page               of   f .10_ Pages                         1:23-cv-01184-CRL-JEH # 318-6                    Filed: 04/22/24          Page 3 of 12                                    D Flash Message
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                                                                                                                                                                                        0 LEADS/NCJC Inquiry
                                                                                                                                                                                        0 LEADS/NCIC Entry · lt-· - - - 1
                                                          !                                                                                                                             D License !nquiry
   1440 hour S                                            I                                                                                                                             O Inter-Dept. Requests                      .1
                                                                                                                                                                                                                                      1-----1
   Mr. Richardson directed 1-V\RT, TOBY, into the Teacher's break room, located i11111ediately adjacent      OotherCommunication
   to his res ective office wherelwe were seated. When we asked this individual about 11 JOHNNY' 1 he        OcancellationMade
   replied that he was aware of a BM student that he addressed as 11 JOHNNY LEE 11 and that he knew that this individual
   associated with· the male victim ROBINSON, comnonly_ known to others in the peer grou as HSCOB.r'. HART. was able to
   describe this individual as having buck teeth with some of his front dentures missing. He also told these officers
   that he did not know this individual's last name. When we asked HART as to how we would be able to contact this
   individual, he stated that he could be found in room 15 or room 16 irrmediately adjacent to the principal's office,
   u on the conmencement of the sc~ool dayJ at a22roximately_l5-JO hours. Mr. Richardson was able to tell these officers
   when we supplied him with theselrespective details, that the only student fitting that description and currently
   assi ned to those rooms would ~e one JOHNNY SAVORY. Mr. Richardson also told us that this individual has been on
   suspension and was due back on this date. He also related that his secretary had received a call from a party stating
   he was JOHNNY SAVORY· this art      uestioned the secretary_ as to when his current suspension was to expire, and when
   to report back to late afternoon high school. He was instructed by the secretary to report on this date, as his
   sus ension had ex ired.          I

   HART  ITTOBY added that he was aware that 11 JOHNNY LEE 11 was kno.,,n to associate with another B M named MASON RAY
   currently residing in the 1800 block of Kettelle Street. HART described this person as being approximately 19 years
   of a e.

   When we described the knife believed to be in the ossession of-! 1SCOPY 11 rior.to.the.i"ncident HART confirmed•our · ·r.
   descript·ion·:and s·tated that a counselor, possibly by the.name of. McC-ANN,. ·had confiscated,the: ..weapon.from_ fhe:person_ :,
   of ROBINSO     som time before Thanksgiving at the s·chool. ·-1:fART concluded b - statin fhat his relationshi with the·
   deceased vict.im, ROBINSON, began whjle both were residents of·_the Taft.Homes Pr_ojec_t.:. · ·-                  .... _ . . .

   At 1450 .hour:s this··offi.cer talked to·.GERALQ McCANN .and asked.him.if he_ knew the.victim James Robinson,.andt)ad-knowledge: ..
   of a ocketknife -b-rown·.in color with muLti _blades. He stated that the youth had displayed one i'n his class9·and as
   close as he could remember it:-was i.n the month of November;. and that at that time he had-,taken ,the. knife _fr:om :the: s_tudent.
   and ke t it in his office-. with the under"standin that if he would brin his arents to the school he would turn the
   knife over then. He states.the knife was not used in any type of an assault, but that the youth displayed his kni,fe:,: ~
   in class--.and for the:.safet of the.class and,because of Oistdct.1 Q, olic           the knife wasrtaken from the-student.-· ..
   According .to_.him.the:parents,.did not come .in, as .far as·he knows they were not not.ified.and the.:kni,fe has,been . .in hi.s, _
1---''-LLL..J.!1.,.S;i.._..,_J..lll~-"-'--""--'---'LJ.IJS;.__..:.J......n.<a'--'---·...._aken fr..om...:...t.he~..t.u.de.n.L___Ihis officer i ni tia..led this officer and it was tagg!.-.~~~.__.,.,.......__ ____,
      #29 523 arid p 1aced. ;in. an .evi,dence. ·1 ocker.                                                                     ..: ,           ·, ·· ..... ,        . , .

   1451 hours                                                                                                                                                     .   .   t'   .•. '
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   an associate of the deceased                                            stated that he was al so aware of a student /lamed ~JOHNNY LEE                                        1      but                  11 ,

                                                     officer tbe 1ast_narne_2,f 'the s..t..u.d.e.o_t_. - HARVEY ·told this ·officer that-.h""--"·U'd.:,.._,..___,......__.il.k..~,..._,.,.,___,..sa..,,c.U,;CL.L.-/
   with the deceased male victim, from their student days at McKinnley_ ~r~de School.
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                                                                                                                                                 PEORIA_SAVORY 746
Page 3                                     110                                                  SUPPLEMENTARY REPORT-, PEORIA POLICE DEPARTMENT
                              of                              Pages                                  CONTINU.\TION SHEET # 318-6
                                                                                                    1:23-cv-01184-CRL-JEH                                                              Filed:       04/22/24                        Page 4 of 12
  OFFENSE CLASSIFICAT,ON                                                                                                                         DATE OF THIS REPORT                      CLASS! F ICATION                 iNCl □ ENT CODE. CHANGE


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                                                                         NAME AND/OR ALIAS                                                                                                                                                                                                              S.,S., □ .L. NO .• ETC.                                                    REF.




SEC. C:      S-So~       D-Been DrmkJn9 .,~-!nroxiCilte-d'/U.nder lnflui."llcc. 07"01her"mes-c:ribe m Narr.)                                                     .,   .-.,                                                                            .. i,

S.iEC. l>:   M-M.al'l'   F-F-emale


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                                     U- Unknow11

                                         HAIR IDESC.)'
                                                   . .
                                              .: '. I
                                                        /   W-White   N-Nt-9m   M-Me"rcar'I    J-Jupam.•s.e    1- lndiilf1   f>~ Pue-,to Rican    C-Ch1n:ne   0-0rhe-r       SEC, E:         POL-On Outy Ptilii:::e   OD-Off Duty Police-

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       CONTINUATION                                                   NARRATIVE:
        SHEET ONLY                              □                                                                                                                                                                                                 /


      HARVEY informed this officer that he had been told .b DAVID JACKSON
      that 11 SCOPY 11 mother had threatened him:\(JACKS0tO with a knife sometime in the past, that had o!11Y 11cut the ~~~ets 11 •
           ours                                                                                                                                                                                                                                                                                                               .....   -
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                                                                                                                                                                                                                                                                                                                                          ~   ...    ,.J   .I .....   .... '   •


   JACKSON, BOBBY was contacted b this officer in the above mentioned room. Thi
   he was not aware of the exsistance of a student currently enrolleddin late
   11 J0HNNY.",LEE 11 • • JACKSON ,di.d aH1tide .to the fact that_r the .victim <ROBINSON a
   problems with his respective step-father-~ETER DOUGLAS, but--failed·-to elobrate-on same.·:.

    I 51 0 hours                                                                                                                   ., :, '·
   MARLOTT, 1NICKY. _was, interviewed~ ~ .MARLOTJ con·f,irmed th.at he ·had b                                                                       -
   Robi nson,,:):n Mhi ch .both :engaged. in. a .f i gh:t~ approximately 2: mon"ths ago, -resulting.in .the'ir -r-espective: ·suspensi'cms ',from : .. ::
   the school •• MARLOTT stated that no in·uries were incurred b                  it r
   to any type of weapons. He attributed this incident to name calling, and he stated that he:~as ~n a ~riend1y basi~-w~~~
   the victim rior to this incident. MARL0TT also stated that h
   11 J0HNNY LEE 11 •




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I l Sl S hours                    l                                                                         D Inter-Dept. Requests                                                                                                                                                                  I

1 Mr. Richardson came to the teactier 1 s break room and informed us that he had received a telephone >-y-~ 0 Other Communication
                                                                                                                                                                                                                                                                                                I


I cal 1 from SHERMAN WILLIAMS, an ohff i cal of Juvenile Court Services, to the effect that ;:IOHNNY SAVOI  0 Cancellation Made
                                                                                                                                                                                                                                                                                                'I
                                                                                                                                                                                                                                                                                                    I

I would be arriving shortly at sblhoo l , as he was in transit from their respective office, at the courthouse.
I                                                                    I
I 1530 hours                        I
I JOHNNY SAVORY was directed into]our location by Mr. Richardson. SAVORY seated himself in a chair at the head of the
I table, with Officer Haynes seat¢d to his irrrnediate right and Officer Pinkney to his irrmedia te respective left.
I                                   I
I When Officer Haynes said to SAVORY, ''we would 1ike to talk b you ;about SCOPY. II SAVORY inmediately a rep 1i ed,. II I                                          .
I don't want to talk about it. 11 • 1n I won't make any statements. 11 • ,,)These officers then informed SAVORY that we were
I attempting to gain information ¢oncerning the homicide in question, and that her was a good ,fir i end of the victim's.
I Thus, he miqht be able to Qive dis information that would lead to the eventual aoorehension of the assailant. At this
I point SAVORY stated to the _effe¢t that he would help these officers. He said, 110K, I wi 11 talk to you. II                                                                                                                                 .
I                                   I
-n;e fo1Towrng 1s a aescr1pfion of the dialogue between these officers and SAVORY during this oral interview;
  Q. We know you were with the victim Monday, would you te 11 us when you first saw him,
  A. 3:30 here at school

     Q. What time did you leave school?                                                                                                                             ..
     A. 6:30, we got out of school, saught a bus and went· to- hi_s . home (3033 w. Garden)               .                          - ...- .
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     Q. What time did you Qet to the house?
     A. About i/, :00                                                                                                                       .,                       ·,

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     Q. What did you- . do-'' then?.-     .               . '   -   '.
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                                                                                                                                                                                                                                                                                                        '


     A. We took the garbage cans to the rear ·and .then Jinmv oopened the·door~c:.with a key he act.out of the mailbox. . !'"told
     him that I thought that was dumb, meaning. the.keys O:ut 1ike that.            .         ,.
                                                                                                       . .
                                                                                                                                   '
                                                                                                                                          :
                                                                                                                                                    ..        ..

     Q. What did you do next?
     A. -We went -into the kitchen and Jirrrnv opened a can of-corn and put it. in the.skillet. . I cut UD some- hot· doos •. with ~                                                                                                                                                                                       '
     my knife ~nd .. pu_t_ thei:n -_in and w:e heateq_ it up_. We both ate this and we drank water, both of us drank from a: leo .c·up. - ..                                                                                                                                                                ,



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                                                                                                                                                                                                  ~                                    J   •   -   -                     ..
     Q. ~hat dJd. you do with YC?Ur dishes?                                             "           .                            -.           ..                  . '   .                                 ,.
                                                                                                                                                                                                                                   .                                                           '.

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                                                                                                                         •   +   ••                '•-
                                                                                                                                                                                         ..
     A. We cleaned them-up                                                                                                                              --   .,
                                                                                                                                                                                                               '''        '
                                                                                                                                                                                                                                               ..                                                               - ..
                                                                                                                                                                                                                                                                          ....                                   ·'

     Q. Did YOU eat or drink anvthina else?
     A. No                                                                                                                                                                                                                                                                                                  ...


     Q. Then what did you do?
     A. We went into the frontroom. out the TV on the floor, the 1ong table across the arm of the chair and started wrest 1·; na
                                                                                                                                                                             .                !
                                                                                                                                                                                              SUPERVISOR APPROVING                                                                    I ~-0, NO
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,NO.Murder                         B11                                                                                                                                                                1977                       CHANCENEEOEO
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    SEC, A:       A-A,r1P11,ed
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                                   8-8U1-intu.'Fitm. ,...,.nev      C-Co~nanl            8R-8artendll!I"    M-r,U,1.ing. R....,...,,1y   P-P.11rtm1. CiU11rdi.&.n   S---S...~   V.-Vicliin       W-Wilnea   0-0tMI' (N•.J
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    SEC, 8        K-Oe,fKI B11!fo1,e, RtlPO'l    0-No l~rn:hi:-.1t~n 1;11 lnjUry    A-Bleeding, C1med fram 'Sa-lM!          8-Visible Injury      C-No Vi"Jlbl@ lnj;;ry. MomtnUiry UnoonKi(II.IS. Compl.11it1 of -P.in


    SEC. C;       S-Scber     D-Bi:m Drinking          l-lnto)lic:11cd/Under h1fluem:"        0-01he, ID~1eribe m N ■ rd

    SEC. D:       M-M.,1e
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                              F-hm.1te-         U-Ur.knDwn     /   W-WhJfll!       N-N!9'"0    M-Mu:ican      J-J,apann&

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         CONTINUATION                                                         INARRATIVE:
          SHEET ONLY                                      □
                                                                                                                                                                                                                                                                                                                        ·'
        Q. Who~out the TV on the floor.?
        A. Scopy

        Q. After that what did you do?
        A. We went back into his bedroom and started usina the niahtsticks (and some word indicatina he was,usina Chtma.sticks
        pr.acti ci ng Karate)  • ·'

        Q. Can you describe the night stick?                                                                                                                                                                                                                                                                                                                         '-   \             ...
        A. Black like the Pol ice use. with a str-ina

        O. Did vou use another stir-k?
        A. No, there was a metal pole but we didn't use it.                                                                                                                                It was tan in color.                                            1·:used the (again .some·.word' indicating·
        Chuaa sticks)
                                                                                                                                                                                                                                                                                                       ".
        0. Whf'l,re clicl linmv not thP<:O <:tir-l,<;?
        A. They were hanging in his room

        Q. Then what did you do?
        A. We 1,,.ft and went to M1 l h=- 1 , ho11,P
         CAN OFF-E.NOE,A ,ev WHOM   REPOAT,NG OFFICER !PRINT, TVPEI                                                                                         rLD.NO.               ,       REPORTING OFFICER (PR1NT, 1'VPEI                    (D. NO,            O!VISION     •.       !CAR. N"O,,         ISUP,ERVl?°R AftPROtVING                                           ,... 1,0._.r.;o.

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                                                         1:23-cv-01184-CRL-JEH # 318-6                          Filed: 04/22/24             Page 7 of 12                                    Flash Message
1          ,,,-                                         I                                                                                                                     -- □ LEADS/NCIC Inquiry
..,__ _ _ _A_TT_A_C_H_P_RO_P_E_R_TY_T_A_G_H_ER_E_ _ ___.I_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __.:•:....._;-::..._-_ _.;.___.::....._;_ _ _ _ _ _ _ _------l _ _ _ O LEAOS/NCIC Entry
                                                        I                                                                                                                     _ _ O License Inquiry
    Q.   About what time was this?                      I                                                                                                                                O lnter•Dept. Requests
r.--:A--.-=A-o-u-:--t-1:j...-:Q;:;--0;:;-------------:-1----------------------------------I==-~-= □ Other Communication
                                               I                                                                                           D Cancellation Made       i
   Q. Was there anyone else at Jirrdny 1 s house, while you were there?
   A. No                                      I
;a-------------------;-1-------------------------,-,---~·--                                                                                                     p   -·-       - - - - -     .• ,   -   ••••   .,.     -.       ~~



   Q. What did you do at Melba 1 s I                                                                                        \JO 29523                 PEORIA:·•:'~\
   A. We talked for awhile and theh she gave me $4and we left
                                              I                                                                                . 77-
                                                                                                                                                      I·-
                                                                                                                                                       POLICE;::;~
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I - ' - - - - - : - - - - - - - - , - - - - - - , - - - - , - - - - - - - - - - - - - - - - - - - - - - - - - , - - - - - ; CASE NO. Q/58fj DATE /~/-ZZ·•:1;:~~
   Q. About what time was this?               I                                                                                        .                          I, _I
   A. About 9:00
                                              I
                                               I
                                                                                                                            DESCRIPTION:/-£µ;,:!/£.-: O.i'oct>iU.
                                                                                                                                                                • .,I
                                                                                                                                                                                                                                 !--
   Q.   What   did  vou   do  then?           I
1-:--~-'-'--'-'-~~ce-..,.~~_,.::..:=_;;__------.,..........------------------------1 ,tt/_J_;Jv:, LC -'/0. 8Ltl 6 E..5. · -";_· ~,:
   A. I gave Scopy"fl2 and I took $~, we went to that chicken p 1ace on the hi 11                                                   ·    ·   ·    ·       • ,.                                                              :~".i-
                                                                                                                                                            Sr/11,J t,eSS. srcLt-                                              ·:_
    0:: ""l/nat dlCI you ao tnereT
    A Webothaotthreeoiecesof chicken
                                                        I
                                                                                                                                                      I.:TAP~," Seo,,_-.
                                                                                                                                                                     j
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r - - - - - - - ~ - - - ' - - - ' - - -...........- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 1                                             - ., .,     . . ..                   . --        ,... _'.' r - -
     Q. Did either of vou have anvthina else?                                                                                                          1~1rL ·
!---'A"-'-.-w_e_h_a_d_a-ro--,-1""'1-,.._h.;._e.;.._;h..;..a_d_.;;._a_s_.p'-r--:i,-t_e_._a_n_d~l...;.,,..h-a...,d-a-roo--t...,b=--e-e_r_,__________________,;I D EViDENCE
                                                                                                                                                                                         ~ }iJ NON-EVIDEN_C:-..
                                                                                                                                                                                                         .·_t~.!:. I
    Q. How long were you there?                                                                                                                        l-   OF.FICER . /J            \.,...,;BADGE
                                                                                                                                                                         I-'~":'_1 K,,.n:.. _' ___ o u. _ _ 1
                                                                                                                                                                                                                    /·e:i/,J-~-
    A. We took our time. mavbe 10:00
    o. Then.·what did: vou· do?     ..     ..                  ..                     .•         ..    ,
    A. Melvin called us a dirty name, so we chased him over the hill over the hill and all the way home.                                                                                                            .. .. . ...

    Q. What did you do next?                                                                                                                                                                                                    ....   .1.

    A. We went to ScOPYiS house                                                                                                                                                 .... ' .

    Q. Was anybody there at this time?
    A. His mother, step:father, .sister:. a,:id ..the baby                                                                    .      '. '


    Q. What were they doing when you got there?
    A. Watchina a basketball aame on TV
    o. What were his mother and steo father doina?
    A. They were sitting there, on the couch and she was folded up in his arms.
    - • .;; ,ca. ,..... 11i s sister do;-r,,,,.,~,,7-------------------------------''--~•-t_ _ _ _ _'-'---_ _ _ _ _ ___,..____.

    A. Sitting in the chair, talking to a girlfriend on the phone
                                                                                                                                                     Isu•£•v1s0• .APPROVING                                             , 1.0. NO.
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    PiWJe       7                      of         ~ (0                 Pages     I                           SUPPLEMENTARY REPORT - ,
                                                                                                                                              PEORIA
                                                                                                                     CONTINUATION SHEET # 318-6
                                                                                                                    1:23-cv-01184-CRL-JEH
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                                                                                                                      rN;;◊;~
,    OFFENSE CLASSIF~CATION                                                                                                                                              DATE OF THIS REPORT                                                       rCLASSIFICATION                                 INCIDENT CODE CHANGE                                                                  AEL. CASE NO:S

        Murder "8"                                                                                                               January 26, 1977    0 G G                                                                                                                                         FROM                                     10




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                                                                                                                                                                                                                                                        CHANGE NE Eoe:o
                              ,     ec • ,SEC C                       ,SEC E ,       NAME AND/OR A.LIAS                                                                                              , ADO RESS IND. CITY, STATE, ZIP)                                                                                ,      l'HONE(Sl                                  ,       0.0.8.IAGE                                 ,    S S .• D.L NO., ETC.                                                                         Al:F.




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    SEC. A       A-Atri;Ste-d
                                                      1/'
                                     B- Bus1neu, Fi,m, Ager11:y      C-Complainant     BA-Ban~rn:ter      M- Minm11, RIJl"llll'll.3,i       P-P.arenr. Gu~•cli.i.-.           S-Su:.pe-cr    V-Viclim             W-WitntS$   0-0the, {N-arJ
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    SEC. 8;      IC-Do?-ild Betor~ RE!port        0-No lridiutior1 or lnj\lry    A-Bleed 111g, Carri-ll!d Imm Sc.en~     8-Vi~iDle lnjt.1rv         C-ND Vidttre l11j1.<rv. ·MomE!l'!llrv Un-oon·scious, Compl.a,m of Pain                                                                                                                                                                                                                                                                      .




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    SEC. C:      S-$,:ib,er       D-Been Orir.ki11g    1-lmo)(icau-dNnder tnfluenc:e      0-0ther (D1!!1-Cribe in N~rJ



,NU.
    SEC. D:      M-Male

                 HGT.
                                  F-Female
                                    WGT
                                                U--Unl.:nawn

                                                rHAIR     IDESCJ
                                                                 /   W~Whjte    N-N~ro     M~MexiCill"J     J--:Japanue

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                                                                                                                                          GLASSeS !DESC.I rCOM•c€XION
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                                                                                                                                                                                                                                  SEC. E:            PO l.~0.-. Out)' Pollet

                                                                                                                                                                                                                                          S~i-RJ/BLOUSE.            r.COAT
                                                                                                                                                                                                                                                                                          OD-Off Dutv Police

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,V.l.N.NO.
                                                                            r□ VICTIM
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,     lYPE PROPERTY                                                                 CODE.·
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LAB                                                       :CID                                                 tHDTO                                                                   1PATROl SGT.                                                CORONER                                                            1 0THEA
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         CONTINUATION                                                        !NARRATIVE:
              SHEET ONLY                                    □                                                                                                                                                                                                                                                                                                                                                                                                                 • ...i'           ..            ,   .          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              -                 . 0·.                        .
        A. We went into Scopy 1 s room and practices KungFu and listened to music.
                                                                                                                                                                                                                                                                                                                      ....    . ·.                                - --                               . -..                         ..
                                                                                                                                                                                                                                                                                                                                                                                                                               • J • • • •- •
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        Q. Where was tha baby?                                                                                                                                                                                                                                                                                                                                                                               -                      ,   ..   '        • : ~ +·      ..,J:_.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     :    ...• :             .
        A. He was at the read of Scopy's bed
                                                                                                                                                                                                                                                                                                                                                                                         .-                                    I •.                   - ' .....               -                 ·: .t .. I
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        Q. What happened next?                                                                                                                                                                                                                                           '•                                                          . ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ~- "
        A. I left right at 11 :00                                                                                                                                                                                                                                                                                                                    '
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        Q. ~lhere did you go?                                                                                                                                                                                                                                                                                                                    '                          '. ..                                                                                                                            ~ I      •




        A. Home
                                                                                                                                                                                                                                                                                                                                                                                             .. ---
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  -- -
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        Q. How did yot.Fgef, ·there? -- . • 'l-                                                              . ~-,_ . ·   ..
                                                                                                                                    ·-·                                                                               t
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                                                                                                                                                                                                                                                                                                    •·                                               - .'     ,
                                                                                                                                                                                                                                                                                                                                                                    -                    ...                           'L                        -              .                      .                                     .
        A. walked, hitch=hiked
        Q. How long did it take you?
                                                                                                                                                                                                                                                                                                                                       ._
                                                                                                                                                                                                                                                                                                                                     . '             .
                                                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                                                            .   .            -                                               - -                              -                                              .
        A. T1 I 12:00                                                                                                                                                                                                                                                                                                                                                                                                                                                                               - .'                     .
      Q. What did you do when you got home?                                                                                                                                                                                                                                                                                                                                                                   ..                                                                                             ,,              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              r.
                                                                                                                                                                     .                                                        -          .'                   ..
      A. Ca 11 ed Scopy/s ho~se · ':•c:c- - - ' -·                                                                                                    ,      -            '           • . ,L•        ~    -         __ ,,.'
                                                                                                                                                                                                                                        -                ·.
                                                                                                                                                                                                                                                                                  . ''                                                                                          .'                                                                    ~
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          CAN' OFFENDER                    , BV WHOM                                     REPORTING OFFICER jPRIN'T. TYPE)                                        ,1.0, NO.                       ,       REPORTING OFFrcER IPA~NT, TYPEl                           1J,0. NO.                         DIVISION
                                                                                                                                                                                                                                                                                                                                   ICAR NO.                                                                                                                                                                               I.D. NO

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             BE mEN11Plf □                                                                                                                                       :    -       I'
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    Page            8    of.·                                                                                                                                                  D Flash Message
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                                                                     1:23-cv-01184-CRL-JEH # 318-6        Filed: 04/22/24      Page 9 of 12
1                   ATTACH PROPERTY TAG HERE                     I                                                                                                   - - 0 LEADS/NCIC Inquiry                                                                 I



                                                                                                                                                                     - - 0D License
                                                                                                                                                                                                                                                              I
I                                                                l                                            l                     '.                                      LEADS/NCIC Entry                                                                  I

I                                                                l                                                                                                   --             Inquiry   '                                                               I

I Q.         What time w~s ,that?                                I                                                                                                      0 Inter-Dept. Requests                                                                I
  ,..,_      I-IS soon as J, got nome,                 I £:uu 1      , l usea a neighbors's phone, downsra, rs.
                                                                                                                                                                     - -0 Other Communication
                                                                                                                                                                                                                                                              I
I                                                                                                                                                                                                                                                             I

I                                                                I                                                                                                      0 Cancellation Made                                                                   I
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I    '-l•now 1ong mu you LalK            I
I tt.    Ti  1 after 1:00, between 1 :001 and 2:00
J                                        l
I Q. Did he say anything about haiving trouble with anyone in his family at this time?
         He statea 1:na1: ne a1an t 1 , Kte n, s aaa
I
I
     '"'·                                I
I ll• u,o you near anycn,ng 1n the1 background, tfiat woun:i-nxncate there was any k 1 no-----ar t roub I e <
l A. No, when his dad left, he sa1i d good bye to him, that was at l :00
I                                        I
I Q. Did Scopy say anything to inpicate that he was having trouble with someone?
I A. He asked me to come over at p:uu sharp, he sa1 cl he had someone to deal w1th~ ne wam:ea my lhe Ip
I                                        I
  -q-. -,,, ro -yotr go -o ~at- v •            u   u   _


  A. No
     Q. Wny not?
     '"'· 1 rorgot                                                                        ..                                '' ..        -                     . - . -- (
                                                                                                                                                                                         ..
                                                                                                                                                                                          '           -                 .       ...    -               -
                                                                                                              '
     ll• u;a you ever Know ~copy to carry a weapon!
     A. Yes, a pocket knife                                                                                                                                                                              -
                                                                                                                                                                                                           ...
                                                                                                                                                                                                    J'. ~ .,_  - . .... .                  -
                                                                                                                                                  •   I        ,.                    . .            - .. - ...
                                                                                                                                                                                                                ..      .   -                                 ..
     Q. Describe this knife?
     A. lt was a bl ecK Kni re, one btaoe, Sharp as a razor·(                                                                                                              ... .                      -- . - ... .
                                                                                                                                                                                                           '"'                                         ''

                                                                                                                                                                           ..    '                     "
                                                                                                                                                                                                                 - ..             .......                                  .
     Q. HOW blQ was the Kni re!
     A. The youiht indicated a knife about 5" long                                                                                                                              .    .                                      ;
                                                                                                                                                                                                                                           .        -
                                                                                                                                                                                                                                                 . ........                .
                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                           --           -.'
     Q. How do you know how sharjl> it was?
     A. I sharpened 1t tor h1m,                            1   bought one at the same time as he d1d, at Murray'~- 1 t was about $1 • '"t7 t [?Ut_n9~ - 01(~,:: ... :. " . . ' .                                                                                           .
     $3 or $4                                                                                                   .'                             .. . : .. .. ..              ..
                                                                                                                                                                                     ;
                                                                                                                                                                                              - -
                                                                                                                                                                                                                                                                           .
     Q. When was the 1ast time you saw this knife?                                                                                                         .    .
                                                                                                                                                                .,      . ,.                            ... - -                        '                                   .
     A. Monday                                                                                                                                                                                                                  ..                    . . .
                                                                                                                                                                                                                                                         '




     Q. Where was the kmfe?                                                                                      ~-.                                                                                           -                 . .
                                                                                                                                                                                                                                                  .." -
                                                                                                                                                                                                                                                 •.          >•       •>
                                                                                                                                                                                                      ''.
                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                 ..
     A. In his pants, it had a hoop and he pinned it inside (youth points to the area above the 1ef t~ pocket) .                                                                                                        r
                                                                                                                                                                                                                            ,          - ..                       '        .
     Q.,Would you be willing to go down to the station with us and answer:_questions that the other detectives might want
     to ask you?                                                                                              .
                                                                                                                                         I
                                                                                                                                         SUPERVISOR APCROVING                                                                              : I.D. NO.


     I\
          . I'll~                                                                                                                                                                                                                          '''
            -·
                                                                                                                                    PEORIA_SAVORY 752
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    Page            9             of            1,c Pages/                                                 :iUt't'LtMtNIAKl Ktt-UKI - ,
                                                                                                                 CONTINUATION SHEET # 318-6
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                                                                                                                                                                                                          PEORIA POLICE DEPARTMENT
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,     OFFENSE CLASSIFICATIO~



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  Murder B                                                                                                             r'"~~~e2
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                                        ,SEC C                               ,     NAME ANDJO~ AUAS                                                                                 ,     ADDRESS !NO., CITV, STATE, ZIP)                                                         ,      PHDNEISI                       ,    D.O.B.JAGE          ,     S.S., O.L. NO., ETC.                   RE.F.



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    si:c. A:     A-Ar,ntlld
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                                ll-81111■J'l'lt-. Firm. Ageney   C-0:impl•in.ant    BR-Bln•r'ldtl       M-.t.'11s1ing. A1,1r,aw■y        p_p_.,~l. Gu•rd>art    S-Su!opttl    V-V1aim          W-Witl!IHI   0-0lhar [Nar.i

    SEC. B:      K-Qucl' Betort A,e,p,on      0-No lridic.at11m ctt Injury    A-Bi:eH!i1"111. C.r,i•d Frarn Scenl'         B-Vi11ble lnj'l:l,v   C-No Visible lnjurv, Momentary l.lncol'lscious. Comp11jr, of Pa,iir1




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    SEC. C:      S-Sol:Jeor   D~Bftn Otinking      l-lruo11:ic11ted/1Jndt, lt1flu1ma-    0-0thl!!r (Oe-,cfibe iD Narr.)



,.  SEC.
       .,
            D,   M-Mate
                 HGl.
                              F-Fem.al■

                                WGT.
                                            U-Unk.l'lown

                                            rHAIR IDESC.J
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,V.1.N. NO.
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                                                                          □ VICTIM
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            CONTINUATION                                                INARRATIVE:
             SHEET ONLY                                □
      Ac. thee .. nffirorc: ..,.,.,-p ]P~vino this lnc-.ation. the SAVORY vouth informed us that he had a knife at his residence. that
      was the same as the one the victim was supposed to have. This youth stated that he would take us to ~is house and let
      uc: lnnk at the knife. therebv obtainino a brand name and descriotion. for our reoort.

      Thpco offi ..-.. re: went with thf'! ~AVORY vni 1th to his home. but his father was not there at this time and he could not
      gain entry to the apartment. The SAVORY did state, when he got back, that he thought his father had the knife with him,
      .::inn .10::. far a,:;. he knP:w hi,:;. fathP:r was at the St. Mark's Medical Buil di no at this time. SAVORY vouth was then brouaht to
      the station, and questioned by Officer Fiers, Officer Cannon, Officer Haynes and Officer Pinkney.

      These officers left 412 s.w. Washington Street, at 1608 hours.

       Mr. Murohv. our- ool ice department legal advisor, was informed of each development and consulted periodically by these
       respective officers with the assistance of Sgt. Ti arks.                                              -




            CAN OF f ENOE.R            t8"1' WHOM                                       Fll:PORTING DflFICER CPRIN'T, TYPE}                              rl.D.NO.               ,       REPORTING 0FfJCl::R fPRINl, TYPE)                       •'-D. NO.            DIVISION
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 l          ATTACH PROPERTYTAG HERE                       I                                                        D LEADS/NCIC Entry
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 I                                                        I                                                       D Other Communication
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                               'J. NAM( ANO/OR ALIAS                           ADDAf:SS, NO .. i,;ITY, S1Alt.:, iiP


                                  HARVEY, Richard                                 601 W. Thi rd
                                  McCANN, Gerald                                  1624 Timberdale                          Dunla
                                  JACKSON                 Bobb                                  W. Martin
                                 MARLOTT                  Nick
                                 SAVORY                  Johnn          L.        1011 W.                Hulburt




                                                            GLASS-ES tDESC,J                                                                        OTHER DESCRIPTIVE DATA




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